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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA

 STATE OF FLORIDA, et al.,
                            Plaintiffs,
       v.                                        Case No. 8:24-CV-01080-WFJ-TGW
 DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, et al.,
                            Defendants.


       DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION FOR A
               STAY OR PRELIMINARY INJUNCTION

       Section 1557 of the Affordable Care Act (“ACA”), 42 U.S.C. § 18116, prohibits

recipients of Federal financial assistance from excluding individuals from health

 programs or activities—or otherwise discriminating against them—on the basis of

 race, color, national origin, sex, age, or disability. The U.S. Department of Health and

 Human Services (“HHS”) promulgated a new rule that implements Section 1557’s

 nondiscrimination obligations (the “Rule”). As relevant here, the Rule provides that

 sex discrimination that violates Section 1557 includes discrimination on the basis of

 gender identity.

       Plaintiffs the State of Florida, two Florida agencies, and the Catholic Medical

 Association (“CMA”) filed this lawsuit against HHS challenging the Rule. Their suit

 is premised on several misapprehensions regarding the Rule. For example, they say

 that the Rule establishes a federal standard of medical care and categorically requires

 the provision of particular treatments, like puberty blockers or hormones. ECF No. 12

 at 3, 6. Not so. Contrary to Plaintiffs’ allegations, the “final rule does not promote any


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 particular medical treatment, require provision of particular procedures, mandate

 coverage of any particular care, or set any standard of care; rather, the final rule

 implements the nondiscrimination requirements of section 1557.” Nondiscrimination in

 Health Programs and Activities, 89 Fed. Reg. 37,522, 37,533 (May 6, 2024). In fact,

 nothing in the Rule requires the provision of or insurance coverage for any particular

 health service where the covered entity has a legitimate, nondiscriminatory reason for

 denying or limiting the service or coverage, such as, for example, a clinician’s medical

 judgment. 45 C.F.R. §§ 92.206(c), 92.207(c). 1 And although Plaintiffs repeatedly

 invoke the World Professional Association for Transgender Health (“WPATH”), the

 Rule does not mention WPATH, and nothing in the Rule mandates that any clinician

 follow any organization’s standards of care or clinical practice guidelines. Moreover,

 the Rule repeatedly makes clear that § 1557 does not apply insofar as any

 nondiscrimination obligation it creates would violate applicable Federal protections

 for religious freedom and conscience, including the Religious Freedom Restoration

 Act (“RFRA”). 45 C.F.R. § 92.3(c).

           Plaintiffs’ motion for a stay or preliminary injunction should be denied. First,

 Plaintiffs have failed to establish likelihood of success on the merits. Plaintiffs claim

 the Rule’s statement that prohibited discrimination includes discrimination on the

 basis of gender identity, 45 C.F.R §92.101(a)(2)(iv), is contrary to § 1557. But § 1557

precludes discrimination on the basis of sex. Interpreting materially identical language



 1
     Provisions of the Rule cited in this brief refer to those published at 89 Fed. Reg. 37,691-703.

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 in Title VII, the Supreme Court held that “it is impossible to discriminate against a

 person for being . . . transgender without discriminating against that individual based

 on sex.” Bostock v. Clayton Cnty., 590 U.S. 644, 660 (2020). The Rule provides that

 discrimination on the basis of gender identity is prohibited sex discrimination under

 § 1557, 45 C.F.R. § 92.101(a)(2)(iv), for that same reason, 89 Fed. Reg. at 37,574.

 Plaintiffs’ arguments to the contrary ignore the statutory language and are rooted in

 hypothetical future disagreements with HHS about possible applications of the Rule

 that do not reflect anything in the Rule itself.

        Second, Plaintiffs have failed to demonstrate imminent irreparable harm. The

 Rule does not include a determination that any of Plaintiffs’ particular laws or policies

 violate § 1557. And Congress required extensive procedures, culminating in judicial

 review, before HHS may terminate any entity’s federal funding. Thus, no Plaintiff or

 CMA member faces an imminent prospect of losing Federal financial assistance.

       Finally, the public interest and the potential harms to third parties outweigh any

 hypothetical future injuries to Plaintiffs from specific applications of the Rule. At its

 core, the Rule precludes providers and insurance issuers from denying patients

 medically necessary care they typically provide—whether for, e.g., a sore throat, a

 broken bone, or cancer—because of traits or actions that they would not have

 questioned in members of a different sex. There is a significant public interest in

 permitting HHS to enforce § 1557 to protect patients from discrimination in all of the

 programs and activities to which § 1557 applies, as Congress intended. For all these

 reasons, Defendants respectfully request that the Court deny Plaintiffs’ motion.

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                                       BACKGROUND

 I.     STATUTORY AND REGULATORY BACKGROUND

        A. Section 1557 of the Affordable Care Act and its Statutory Enforcement
           Mechanisms

        Through reference to longstanding civil rights statutes, such as Title VI of the

 Civil Rights Act of 1964 and Title IX of the Education Amendments of 1972, § 1557

 prohibits discrimination on the ground of race, color, national origin, sex, age, or

 disability in any health program or activity any part of which is receiving Federal

 financial assistance. 42 U.S.C. § 18116(a). 2

        Section 1557 incorporates the “enforcement mechanisms provided for and

 available under” the referenced civil rights statutes. 42 U.S.C. § 18116(a). For

 administrative enforcement, those mechanisms provide layers of process and

 opportunities for congressional and judicial review before any entity faces a potential

 termination of any Federal financial assistance. E.g. 20 U.S.C. § 1682 (Title IX); 42

 U.S.C. § 2000d-1 (Title VI). HHS’s enforcement is typically a complaint-driven

 process, though HHS’s Office for Civil Rights (“OCR”) has authority to initiate

 investigations on its own. See, e.g. 45 C.F.R. §§ 80.7 (Title VI); 86.71 (Title IX),

 92.303(a) (Section 1557, incorporating by reference § 80.7). As part of an investigation,

 OCR considers all “factors relevant to a determination as to whether the recipient has

 failed to comply” with § 1557. Id. § 80.7(c) (incorporated by § 92.303(a)).



 2
  Section 1557 also addresses discrimination occurring under any program or activity administered
 by an Executive Agency or any entity established under Title I of the ACA.

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        If, following an investigation, OCR finds a “failure to comply,” first, HHS must

 advise the covered entity of a potential violation and make a good faith effort to come

 to a voluntary resolution without the need for administrative or judicial litigation. 20

 U.S.C. § 1682. If that negotiation is unsuccessful, HHS, if it wishes to proceed further,

 must initiate the formal agency adjudication procedures of the Administrative

 Procedure Act (“APA”), which require an opportunity for a hearing and “an express

 finding on the record” of a failure to comply. Id.3 And if that process results in a

 determination to withhold federal funding, HHS must submit a “full written report”

 to congressional committees before any funding withdrawal can take effect. Id.

        Moreover, the statutory enforcement mechanism makes any HHS decision to

 terminate or suspend Federal financial assistance subject to judicial review. 20 U.S.C.

 § 1683. Any entity seeking judicial review can invoke the court’s power to postpone

 further the effective date of any termination of funding if such postponement is

 required to avoid irreparable harm. 5 U.S.C. § 705. Accordingly, the ultimate arbiters

 of any violation of § 1557 and the Rule are Article III courts.

        B. HHS’s 2024 Rule Implementing § 1557

        HHS published the Rule in the Federal Register on May 6, 2024. See 89 Fed.

 Reg. 37,522 (codifying 45 C.F.R. pt. 92). As relevant here, the Rule provides that

 discrimination on the basis of sex includes discrimination on the basis of gender



 3
  Alternatively, HHS may refer the matter to the Department of Justice to secure compliance “by any
 other means authorized by law.” 20 U.S.C. § 1682. This alternative, however, also cannot take place
 until there has been a determination “that compliance cannot be secured by voluntary means.” Id.

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 identity. 45 C.F.R. § 92.101(a)(2)(iv). 4

        In § 92.206, addressing equal access to health programs and activities on the

 basis of sex, the Rule includes provisions that primarily relate to covered entities that

 are directly engaged in the provision of health care services, such as hospitals, physical

 and mental health care providers, and pharmacies. Among other specific provisions,

 § 92.206(b)(3) precludes providers from “treating individuals differently or separating

 them on the basis of sex in a manner that subjects any individual to more than de

 minimis harm[.]” Id. § 92.206(b)(3). This provision clarifies that the Rule does not

 prohibit “a covered entity from operating sex separated programs and facilities[.]” 89

 Fed. Reg. at 37,593. For example, merely providing separate bathrooms labeled for

 men and women is not discrimination on the basis of sex. “Although differential

 treatment on the basis of sex is generally prohibited, [HHS] acknowledges that there

 are certain circumstances in which § 1557 does not prohibit separation by sex or

 differential medical treatment on the basis of sex[.]” Nondiscrimination in Health

 Programs and Activities, 87 Fed. Reg. 47,824, 47,866 (Aug. 4, 2022).

        Section 92.206(b)(4) precludes providers from denying health services sought

 for the purpose of gender-affirming care “that the covered entity would provide to an

 individual for other purposes if the denial or limitation is based on an individual’s sex



 4
   Because Plaintiffs seek to enjoin only 45 C.F.R. §§ 92.101, 92.206, 92.207 and 42 C.F.R.
 § 438.3(d)(4), ECF No. 12-5, the discussion that follows is limited accordingly. Although Plaintiffs
 seek to enjoin 45 C.F.R. § 92.101, most provisions of that section are not meaningfully challenged
 here, including those concerning discrimination on the basis of race, color, national origin, age,
 disability, and sexual orientation, 45 C.F.R. § 92.101.


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 assigned at birth, gender identity, or gender otherwise recorded.” But § 92.206 makes

 clear that this provision does not require

        the provision of any health service where the covered entity has a legitimate,
        nondiscriminatory reason for denying or limiting that service, including where
        the covered entity typically declines to provide the health service to any
        individual or where the covered entity reasonably determines that such health
        service is not clinically appropriate for a particular individual.

 Id. § 92.206(c).

        In § 92.207, the Rule includes provisions governing nondiscrimination in health

 insurance coverage and other health-related coverage. Id. § 92.207. Among other

specific prohibitions, § 92.207(b)(4) precludes insurance issuers from having or

“implement[ing] a categorical coverage exclusion or limitation for all health services

related to gender transition or other gender-affirming care[.]” Id. § 92.207(b)(4).

Section 92.207 makes clear that nothing in the section “requires coverage of any health

service where the covered entity has a legitimate, nondiscriminatory reason for

denying or limiting coverage of the health service or determining that such health

service fails to meet applicable coverage requirements, including reasonable medical

management techniques such as medical necessity requirements.” Id. § 92.207(c). For

example, “a nondiscriminatory determination that care is not medically necessary

based on a patient’s anatomy or medical need is permissible.” 89 Fed. Reg. at 37,607.

        The Rule also includes revisions to nondiscrimination provisions of regulations

issued by the Centers for Medicare & Medicaid Services (“CMS”) governing Medicaid

and the Children’s Health Insurance Program (“CHIP”). 89 Fed. Reg. at 37,691

(revising 42 C.F.R. § 438.3). HHS revised those regulations “based on Section 1557”

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 as well as separate statutory authority under 42 U.S.C. §§ 1396a(a)(4), 1396(a)(19),

 and 1397aa(a). 87 Fed. Reg. at 47,892. These regulatory provisions require contracts

between states and Medicaid and CHIP managed care plans to include provisions

precluding those plans from discriminating against individuals eligible to enroll in

these managed care programs. 45 C.F.R. § 438.3(d). The Rule’s revisions to that

section, as relevant here, add discrimination on the basis of gender identity to the list

of grounds of prohibited discrimination. 89 Fed. Reg. at 37,691.

II.    Plaintiffs’ Incorrect Claims Concerning the Rule

       Plaintiffs misapprehend the Rule’s scope and what it requires. At the outset, two

general points deserve emphasis. First, as HHS repeatedly emphasized in the

preamble, the Rule does not set a standard of care or require the provision of any

particular service. Nothing in the Rule overrides a clinician’s medical judgment as to

whether a service is medically necessary or appropriate for any patient. See 89 Fed.

 Reg. at 37,595-96 (“There is no part of section 1557 that compels clinicians to provide

 a service that they do not believe is medically appropriate for a patient or that they are

 not qualified to provide.”); see also 89 Fed. Reg. at 37,533; 37,596.

       Second, and relatedly, Plaintiffs suggest that the Rule reflects an HHS

 determination “that ‘gender transition’ is medically necessary[.]” ECF No. 12 at 7.

 Not so. The Rule does not displace the judgment of providers as to the medical

 necessity of gender affirming care, so long as a refusal of care is not based on animus

 or bias or a pretext for discrimination. In response to comments, HHS eliminated a

 proposed provision of § 92.206(c), which read: “however, a provider’s belief that

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 gender transition or other gender-affirming care can never be beneficial for such

 individuals (or its compliance with a state or local law that reflects a similar judgment)

 is not a sufficient basis for a judgment that a health service is not clinically

 appropriate[.]” 89 Fed. Reg. at 37,597. In the Rule, HHS replaced it with “[a] covered

 entity’s determination must not be based on unlawful animus or bias, or constitute a

 pretext for discrimination.” Id.; see also id. (“the [R]ule does not (and cannot) set a

 standard of care for gender-affirming care”); id. (“OCR understands that a provider

 may have a legitimate nondiscriminatory reason not to provide a health service, which

 the newly revised § 92.206(c) makes clear.”).

 III.   Procedural Background

        Plaintiffs filed this lawsuit on May 6, 2024. Compl. for Declaratory Relief and

 Prelim. and Permanent Inj. Relief (“Compl.”), ECF No. 1. Plaintiffs consist of the

 State of Florida, two Florida agencies, and CMA, a membership association suing on

 behalf of its 2,500 members. Id. ¶¶ 17-21. On May 15, 2024, Plaintiffs filed a motion

 for a stay or preliminary injunction. ECF No. 12.

                                 LEGAL STANDARDS

        “A preliminary injunction is an extraordinary remedy never awarded as of

right.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). To justify this “drastic

remedy[,]” Plaintiffs must “clearly establish[] the burden of persuasion” on the

following four elements: (1) a substantial likelihood of success on the merits; (2) a

substantial threat that Movants will suffer irreparable injury absent an injunction;

(3) the threatened injury to Movants outweighs the damage an injunction would cause

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 to Defendants; and (4) the injunction would not be adverse to the public interest.

 Davidoff & CIE, S.A. v. PLD Int’l Corp., 263 F.3d 1297, 1300 (11th Cir. 2001). The same

 standard applies to a plaintiff seeking relief under 5 U.S.C. § 705. Sampson v. Murray,

 415 U.S. 61, 68 n.15 (1974); Va. Petrol. Jobbers Ass’n v. FPC, 259 F.2d 921, 925 (D.C.

 Cir. 1958).

         A plaintiff seeking an order precluding enforcement of a regulation, or any

 “distinct provision” of a regulation, in all of its applications, must “meet an especially

 demanding standard.” Am. Federation of State, County, and Mun. Employees Council 79 v.

 Scott, 717 F.3d 851, 863, 865 (11th Cir. 2023) (“AFSCME Council 79”). Specifically, he

 “must establish that no set of circumstances exists under which the [regulation] would

 be valid.” Id. at 863 (citation omitted); see Reno v. Flores, 507 U.S. 292, 300 (1993).

                                      ARGUMENT

    I.      Plaintiffs Are Not Likely to Succeed on the Merits.

         Plaintiffs’ motion seeks to stay or enjoin enforcement of all applications of

 45 C.F.R. §§ 92.101, 92.206, 92.207 and 42 C.F.R. § 438.3(d)(4) during the pendency

 of this litigation. ECF No. 12-5. That relief would authorize Florida and CMA

 members to deny health services, whether for a sore throat, a broken bone, or cancer,

 to transgender Americans on the basis of sex—for example, because of traits or actions

 that the provider would not have questioned in members of a different sex—in any

 conceivable circumstance. But the provisions of the Rule HHS promulgated are

 compelled by the Supreme Court’s reasoning in Bostock.



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         The relief Plaintiffs seek is not warranted by the arguments Plaintiffs raise and

 is not available under the “especially demanding” legal standard: that “no set of

 circumstances exists under which [each challenged provision of] the [regulation]

 would be valid.” AFSCME Council 79, 717 F.3d at 863 (citation omitted). 5 Rather than

 attempting to sustain their burden, Plaintiffs thrust several hypothetical applications

 of § 1557 before the Court—i.e., hypotheticals about bathroom policies and policies

 governing puberty blockers. Plaintiffs then seek to force the Government to address

 those applications in litigation briefs in response to a purported challenge to the Rule.

 But “nothing in the [challenged] Rule itself speaks to” any of those applications.

 Anderson v. Edwards, 514 U.S. 143, 155 n.6 (1995).

         Plaintiffs have not sought, and thus the Court should not entertain, entry of a

 preliminary injunction that would enjoin HHS from enforcing the Rule against

 particular policies or practices. The Rule does not reflect a determination that any of

 Plaintiffs’ particular laws or policies violate § 1557 and thus judicial review is only

 available after final agency action and completion of the administrative procedures

 mandated by Congress. Florida v. CMS, No 8:24-cv-317-WFJ-AAS, 2024 WL 2803298,

 at *3-6 (M.D. Fla. May 31, 2024). 6

 5
   Reno v. Flores, 507 U.S. 292, 301 (1993); Children’s Health Def. v. FCC, 25 F.4th 1045, 1052 (D.C. Cir.
 2022); Associated Builders and Contractors of Tex., Inc. v. NLRB, 826 F.3d 215, 220 (5th Cir. 2016); Ass’n
 of Private Sector Colleges and Univs. v. Duncan, 681 F.3d 427, 442 (D.C. Cir. 2012); Sherley v. Sebelius, 644
 F.3d 388, 397 & n. ** (D.C. Cir. 2011).
 6
   CMA is also unlikely to succeed on the merits of its claims in this action because, as another court
 already held, CMA lacks standing to press them. Am. College of Pediatricians v. Becerra, No. 1:21-cv-195,
 2022 WL 17084365, at *12-18 (E.D. Tenn. Nov. 18, 2022) (“ACP”). Compare id. *10-11, with, Compl.
 ¶ 195. Although CMA has asked the Sixth Circuit to vacate that court’s decision, the Sixth Circuit has


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         A. Section 92.101(a)(2)(iv)

         Plaintiffs’ claim that 45 C.F.R § 92.101(a)(2)(iv) is contrary to § 1557 fails.

 Again, § 92.101(a)(2)(iv) explains that discrimination on the basis of sex includes

 discrimination on the basis of gender identity. This provision is lawful because the

 Supreme Court’s reasoning in Bostock that Title VII’s prohibition against sex

 discrimination encompasses discrimination on the basis of gender identity applies to

 prohibitions against sex discrimination in Title IX and § 1557.

         The Supreme Court explained in Bostock that “it is impossible to discriminate

 against a person for being . . . transgender without discriminating against that

 individual based on sex.” 590 U.S. at 660. 7 Bostock concerned Title VII’s provision

 making it unlawful for an employer “to discriminate against any individual . . .

 because of such individual’s . . . sex,” 590 U.S. at 655 (quoting 42 U.S.C. § 2000e-

 2(a)(1)). The Court explained that Title VII’s “because of” language “incorporates the

 ‘simple’ and ‘traditional’ standard of but-for causation.” Id. at 656–57 (citation

 omitted). “[S]ex is necessarily a but-for cause” of discrimination on the basis of

 transgender status “because it is impossible” to discriminate against a person for being



 not resolved that request. Whether as a matter of issue preclusion, Lewis v. Seneff, 654 F. Supp. 2d
 1349, 1359 (M.D. Fla. 2009), improper claim splitting, Bongiovanni, No. 3:22-cv-237-MMH-MCR,
 2022 WL 1642158, at *8-10 (M.D. Fla. May 24, 2022), or deferring to the ACP court’s reasoning “as
 a matter of ‘good sense and wise judicial practice,’” id. at *14 (citation omitted), CMA should not be
 permitted to treat “an adverse judicial decision [as] little more than an invitation to take a mulligan[.]”
 Entek GRB, LLC v. Stull Ranches, LLC, 840 F.3d 1239, 1240 (10th Cir. 2016) (Gorsuch, J.). Nothing in
 the Rule, which only makes CMA members’ alleged injuries more speculative due to its provisions
 protecting religious freedom, see infra at 30, has any bearing on the ACP court’s reasoning.
 7
  The terms “gender identity” and “transgender status” “are often used interchangeably.” 89 Fed. Reg.
 at 37,556. See Bostock, 590 U.S. at 686 n.6 (Alito, J., dissenting).


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 transgender “without discriminating against that individual based on sex.” Id. at 660,

 661 (emphasis omitted). If an employer fires a transgender woman but retains an

 otherwise identical cisgender woman, “the employer intentionally penalizes a person

 identified as male at birth for traits or actions that it tolerates in an employee identified

 as female at birth.” Id. Thus, “the individual employee’s sex plays an unmistakable

 and impermissible role in the discharge decision.” Id. That is so even if “sex” in Title

 VII “refer[s] only to biological distinctions between male and female.” Id. at 655.

        Bostock’s reasoning applies with equal force to § 1557. The statute incorporates

 Title IX’s prohibition on discrimination “on the basis of sex,” 20 U.S.C. 1681(a),

 which employs a causation standard indistinguishable from Title VII’s “because of . . .

 sex” language, 42 U.S.C. § 2000e-2(a)(1); see also Bostock, 590 U.S. at 650 (using the

 phrase “on the basis of” interchangeably with Title VII’s “because of” language).

 Courts consistently look to interpretations of Title VII to inform Title IX because both

 statutes prohibit discrimination on the basis of sex using nearly identical language.

 E.g., GP by and through JP v. Lee Cnty Sch. Bd., 737 F. App’x 910, 916 n.5 (11th Cir.

 2018). Indeed, other courts have concluded that the rationale of Bostock applies to

 § 1557. E.g., Kadel v. Folwell, 100 F.4th 122, 164 (4th Cir. 2024); Doe v. Snyder, 28 F.4th

 103, 144 (9th Cir. 2022). That is because if a medical provider refuses to treat the

 broken bone of a transgender man because he presents as a man but was assigned

 female at birth, but would treat the broken bone of a similarly situated cisgender man,

 the provider is discriminating on the basis of sex. Indeed, Plaintiffs admit that there

 are circumstances in which discrimination on the basis of sex includes gender identity

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 discrimination. ECF No. 12 at 16 (admitting that where a doctor denies a transgender

 woman “an orchiectomy to treat testicular cancer” impermissible discrimination “may

 be afoot”). That admission undermines any claim that § 92.101(a)(2)(iv) is invalid in

 all of its applications.

        Plaintiffs lean heavily on their view that sex is binary and “biological.” ECF

 No. 12 at 9, 14. But, as in Bostock, nothing in the Rule turns on whether “sex” is defined

 to “refer only to biological distinctions between male and female.” 590 U.S. at 655; see

 also id. at 660 (concluding that “it is impossible to discriminate against a person for

 being . . . transgender without discriminating against that individual based on sex”).

 Rather, as HHS explained in the preamble, the agency “determined it is not necessary

 define ‘sex’ in this rule.” 89 Fed. Reg. at 37,575. Even if “sex” refers to biological

 distinctions between male and female, including “‘gender identity’ in § 92.101(a)(2) is

 consistent with the Supreme Court’s reasoning in Bostock.” Id. at 37,574.

        Plaintiffs devote much of their briefing to Adams v. School Board of St. John’s

 County, 57 F.4th 791 (11th Cir. 2022), ECF No. 12 at 8-13, but nothing in Adams

 provides a reason to enjoin HHS from enforcing § 92.101(a)(2)(iv). In Adams, the

 Eleventh Circuit held that a school’s restroom policy prohibiting a transgender male

 student from using the boys’ restroom did not violate Title IX. See Adams, 57 F.4th at

 815. Adams did not hold that discrimination on the basis of sex excludes discrimination

 on the basis of gender identity, as would be necessary to find it irreconcilable with

 § 92.101(a)(2)(iv). The court explained that “[w]hile Bostock held that ‘discrimination

 based on . . . transgender status necessarily entails discrimination based on sex,’ . . .

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 that statement is not in question in this appeal.” Id. at 808-09 (quoting Bostock, 590

 U.S. at 669). But that statement is what the Rule provides at § 92.101(a)(2)(iv). 8

        Plaintiffs’ reliance on Eknes-Tucker v. Governor of Ala., 80 F.4th 1205 (11th Cir.

 2023), which addressed an Equal Protection Cause claim, is also misplaced. ECF No.

 12 at 15-18. “Given the similarity in language prohibiting sex discrimination in Titles

 VII and IX,” Doe, 28 F.4th at 114, Eknes-Tucker provides no basis to conclude that

 § 92.101(a)(2)(iv) is invalid in all of its applications.

        B. Section 92.206(b)(3)

        Plaintiffs likewise have not established that § 92.206(b)(3) is contrary to § 1557.

 That provision clarifies that not all practices of sex segregation or differing treatment

 based on sex—including practices preventing individuals from participating in a

 program or activity consistent with the individual’s gender identity—violate § 1557.

 Rather, only those that result in “more than de minimis harm” violate § 1557. Id. See

 89 Fed. Reg. at 37,593-94 & n.162; see also, e.g., Burlington N. and Santa Fe Ry. Co. v.

 White, 548 U.S. 53, 68 (2006).

        Plaintiffs do not dispute that the challenged provision can be validly applied in

 an overwhelming number of (if not all) circumstances. Most applications would have

 nothing to do with gender identity discrimination. Consider Florida’s operation of sex-

 segregated residential health care facilities. Bailey Decl. ¶ 35. There could be any



 8
  The Adams court also made clear that the policy at issue in that case did “not depend in any way on
 how students act or identify[,]” 57 F.4th at 809, unlike a sweeping set of policies that would be
 authorized by enjoining enforcement of § 92.101(a)(2)(iv) in all applications.


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 number of ways that Florida could treat their male residents differently than their

 female residents in the provision of health care that, for example, subjects a male

 resident to more than de minimis harm, potentially covered by § 92.206(b)(3), without

 any transgender individual being involved. Florida’s arguments about the scope of

 discrimination on the basis of sex, ECF No. 12 at 9, would have no bearing on an

 overwhelming number of those applications. ECF No. 12-5.

        The provision’s explicit reference to gender identity is no less valid. As

 compelled by a natural reading of the statute, it precludes providers from engaging in

 a practice that prevents an individual from participating in a health program or activity

 consistent with the individual’s gender identity if it subjects the individual to more

 than de minimis harm. 42 C.F.R. § 92.206(b)(3).

        Consider if Florida were to ban transgender individuals from participating as

 residents in its health facilities altogether because it considered those individuals to fail

 to comply with sex stereotypes given their sex assigned at birth, Glenn v. Brumby, 663

 F.3d 1312, 1318 (11th Cir. 2018), and the ban caused an individual more than de

 minimis harm. Plaintiffs have not explained how the injunction they seek precluding

 enforcement in these circumstances could be justified. See id. at 1319.

        Plaintiffs argue that Title IX “allows separating living facilities based on sex”

 and “separate bathrooms.” ECF No. 12 at 12. Even if Plaintiffs are correct that § 1557

 does not “clearly forbid separating private spaces based on sex,” id., the Rule expressly

 complies with, rather than violates, this interpretation. Section 92.206(b)(3) does not

 “prohibit[] a covered entity from operating sex separated programs and facilities.” 89

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 Fed. Reg. at 37,593. And “the practice of assigning patients to dual-occupancy rooms

 . . . on the basis of sex is not, standing alone, a form of discrimination.” 87 Fed. Reg.

 at 47,866. The plain language of § 92.206(b)(3), as in Bostock, does not purport to

 resolve § 1557’s application to specific claims involving “bathrooms, locker rooms, or

 anything else of the kind.” 590 U.S. at 681.9

         C. Sections 92.206(b)(4) and 92.207(b)(4)-(5)

         Plaintiffs similarly have not established that §§ 92.206(b)(4) and 92.207(b)(4)-

 (5), which address nondiscrimination related to gender-affirming care, are contrary to

 § 1557. Plaintiffs’ error lies in viewing these provisions as imposing specific demands

 to provide or cover particular health services, like puberty blockers or gender affirming

 surgeries, when in fact these provisions only require covered entities to act in a

 nondiscriminatory manner. See 89 Fed. Reg. 37,607 (“We [] decline to state that any

 denial of gender-affirming care will necessarily be discriminatory regardless of context

 or rationale.”). The Rule makes clear that “[n]othing in [§§ 92.206(b)(4) and


 9
   In responding to comments in the preamble, HHS stated that refusing to place a transgender person
 “in facilities consistent with their gender identity” would “result in more than de minimis harm,” 89
 Fed. Reg. at 37,593—a conclusion that Plaintiffs do not dispute. That statement is consistent with
 federal court decisions. E.g., Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d at 617-18 (4th Cir. 2020);
 Whitaker ex rel. Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ., 858 F.3d 1034, 1045-46 (7th Cir.
 2017). Plaintiffs do not seek to enjoin enforcement of this preamble statement. ECF No. 12-5. While
 a Rule’s preamble may help determine whether an agency’s decision to adopt a particular approach
 was supported by adequate reasoning, it cannot render legally deficient otherwise legally permissible
 regulatory language. See St. Francis Med. Ctr. v. Azar, 894 F.3d 290, 297 (D.C. Cir. 2018); Nat. Res. Def.
 Council v. EPA, 559 F.3d 561, 565 (D.C. Cir. 2009). Insofar as Plaintiffs view the preamble statement
 as inconsistent with circuit precedent in some applications, absent a contrary “history of []
 enforcement,” Reno, 507 U.S. at 301, the Court must assume that HHS would enforce the regulatory
 text in good faith consistent with caselaw that is binding in a particular circuit, Hyatt v. Hecker, 807
 F.2d 376, 379 (4th Cir. 1986) (agencies must “follow the law of the circuit whose courts have
 jurisdiction over the cause of action”), given that the Court must presume that HHS “will act properly
 and according to law,” FCC v. Schreiber, 381 U.S. 279, 296 (1965).

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 92.207(b)(4)-(5)] requires the provision [or coverage] of any health service where the

 covered entity has a legitimate, nondiscriminatory reason for denying or limiting” the

 service or coverage. 45 C.F.R. § 92.206(c); accord id. § 92.207(c). The Rule thus

 establishes a framework for determining whether any particular denial of care or

 coverage violates § 1557. “When OCR investigates claims of discrimination based on

 the denial of care, [it] will consider the covered entity’s rationale for such denial, any

 supporting information the covered entity offers for its position, and any evidence of

 unlawful animus, bias, or other discriminatory factors in the case.” 89 Fed. Reg.

 37,597. The framework set forth in the Rule is consistent with decades of precedent.

 See, e.g., McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802-03 (1973) (establishing

 same framework for analyzing Title VII discrimination claims); Buckley v. Sec’y of

 Army, 97 F.4th 784, 794 (11th Cir. 2024) (McDonnell Douglas framework appropriate

 for discrimination statutes that include “but-for causation” principles).

       Consider Plaintiffs’ hypothetical involving a surgeon who routinely provides

 orchiectomies. ECF No. 12 at 16-17. Plaintiffs argue that a surgeon who treats a

 transgender woman seeking an orchiectomy because of testicular cancer but not a

 transgender woman who seeks an orchiectomy because of gender dysphoria is not

 discriminating on the basis of sex. Id. But whether that is true will depend on the

 surgeon’s reason(s) for denying treatment. For example, a determination that the

 service was “not clinically appropriate for [the] particular individual” would likely

 provide a legitimate, nondiscriminatory rationale for the denial. 45 C.F.R. § 92.206(c).

 In contrast, if the surgeon instead explained that they denied the orchiectomy because

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 of animus against transgender individuals for their sex-related traits, the surgeon

 would have engaged in impermissible sex discrimination. Id.; see Glenn, 663 F.3d at

 1317; Lange v. Houston County, 101 F.4th 793, 798-99 (11th Cir. 2024) (holding that a

 health insurance provider can violate a statutory duty not to discriminate because of

 sex for denying coverage for gender-affirming care to a transgender employee because

 the employee is transgender). Plaintiffs have not established that the framework set

 forth in the Rule for assessing alleged legitimate, nondiscriminatory reasons for a

 denial of care or coverage is unlawful. Bowers v. Bd. of Regents of Univ. Sys. of Ga., 509

 F. App’x 906, 910 (11th Cir. 2013) (applying framework to Title IX claim).

        D. Plaintiffs’ Arguments about 20 U.S.C. § 1686 are Unmoored from the
           Provisions of the Rule They Seek to Enjoin HHS from Enforcing.

        Plaintiffs argue that § 1557 incorporates 20 U.S.C. § 1686, which permits

 educational institutions to “maintain[] separate living facilities for the different sexes.”

 ECF No 12 at 10-11. It is far from clear that Plaintiffs’ reading of § 1557 to incorporate

 § 1686 is the best one, given that § 1557 only explicitly refers to the “ground

 prohibited” and “enforcement mechanisms provided for” under Title IX. 42 U.S.C.

 § 18116. Schmitt v. Kaiser Found. Health Plan of Wash, 965 F.3d 945, 953 (9th Cir. 2020).

 But Plaintiffs never explain why their alleged entitlement to an injunction against

 enforcement of the provisions cited in their proposed order, ECF No. 12-5, turns on

 whether Congress incorporated § 1686 in § 1557. Even if Plaintiffs are correct that

 § 1686 governs the application of § 1557’s bar on sex discrimination, nothing in the

 challenged Rule precludes the agency or courts from applying § 1686 when addressing


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 particular cases. Relatedly, the Rule does not forbid what § 1686 permits. Insofar as

 this argument is related to Plaintiffs’ request to enjoin enforcement of § 92.206(b)(3),

 again, that provision only requires that sex separation not “subject[] any individual to

 more than de minimis harm.” 45 C.F.R. § 92.206(b)(3). Insofar as this argument is

 related to Plaintiffs’ request to enjoin enforcement of § 92.101(a)(2)(iv), a

 determination that § 1686 governs § 1557 in some contexts would not mean that § 1557

 never prohibits discrimination on the basis of gender identity. See supra at 12-15.

        E. No Motion to Enjoin or Stay Any Application of the Rule to Plaintiffs’
           Particular Policies is Properly Before the Court.

        Plaintiffs’ heavy reliance on Adams and Eknes-Tucker to support their motion to

 enjoin portions of the Rule in all of their applications is misplaced. In addition to the

 reasons discussed supra at 14-15, both of those cases addressed various

 antidiscrimination provisions “as applied to a particular factual scenario,” Eknes-

 Tucker, 80 F.4th at 1229, i.e., one where a school district employed a particular

 bathroom policy, Adams, 57 F.4th at 811-17, and another where a state employed a

 particular policy restricting minors from accessing specific medical treatments, Eknes-

 Tucker, 80 F.4th at 1230. “That is not the scenario presented here.” Id. at 1229. Rather,

 Plaintiffs here seek to enjoin HHS from enforcing general rules as applied to all

 plausible factual scenarios they might encompass. Plaintiffs’ “hypothetical examples

 are not the stuff of ripe APA challenges.” Ass’n of Priv. Sector Colleges & Univs. v. Duncan,

 110 F. Supp. 3d 176, 196 (D.D.C. 2015), aff’d, 640 F. App’x 5 (D.C. Cir. 2016). See

 Nat’l Ass’n of Regul. Util. Comm’rs v. FERC, 964 F.3d 1177, 1185 (D.C. Cir. 2020).


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        Any request for an order enjoining HHS from enforcing the Rule to preclude

 particular policies would be inconsistent with the APA. Plaintiffs invoke judicial

 review under 5 U.S.C. § 702. Compl. ¶ 31. That provision requires Plaintiffs to “direct

 [their] attack against some particular ‘agency action[,]’” Lujan v. National Wildlife

 Federation, 497 U.S. 871, 890 (1990), as opposed to “an abstract decision apart from

 [the] specific agency action” that they challenge, Biden v. Texas, 597 U.S. 785, 809

 (2022). Plaintiffs cannot invoke the APA to have the Court review an agency decision

 about whether their particular policies violate the Rule before the agency analyzes any

 legitimate, nondiscriminatory justifications for each policy, as the Rule requires, and

 generates a reviewable agency action. Supra at 17-18; infra at 27-29. “It is a tautology

 that [a plaintiff] may not challenge [an agency’s] regulations as applied until [the

 agency] applies the regulations[.]” Dunn-McCampbell Royalty Int., Inc. v. Nat’l Park Serv.,

 112 F.3d 1283, 1288 (5th Cir. 1997); see also Reno, 507 U.S. at 300-01 (challenging

 application of a newly promulgated Rule would be impossible); GeorgiaCarry.Org, Inc.

 v. Georgia, 687 F.3d 1244, 1255 n.20 (11th Cir. 2012); Nat’l Wildlife Fed. v. EPA, 945 F.

 Supp. 2d 39, 44-47 (D.D.C. 2013). 10




 10
   Pre-enforcement review of any application of the Rule would also be inconsistent with § 1557 itself.
 As described above, supra at 4-5, § 1557 incorporates the administrative enforcement mechanisms of
 Title IX, including its detailed judicial review provision, permitting an Article III court to determine
 whether any application of the Rule is consistent with § 1557 and the Rule. 20 U.S.C. § 1683.
 Permitting pre-enforcement injunctions against hypothetical applications of the Rule would
 undermine the comprehensive review process established by Congress. See Thunder Basin, 510 U.S. at
 207-18; Florida, 2024 WL 2803298, at *3-6.

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         F. 42 C.F.R. § 438.3(d)(4)

         Florida also has not established that 42 C.F.R. § 438.3(d)(4), which requires

 contracts between states and managed care plans to include provisions that prohibit

 discrimination on the basis of gender identity, is unlawful.11 Florida appears to claim

 that HHS lacked statutory authority to promulgate regulations prohibiting

 discrimination in enrollment as part of HHS’s oversight of the Medicaid and CHIP

 programs and requiring contract terms in managed care plans that prohibit

 discrimination in enrollment by those plans. Florida is incorrect.

         Medicaid and CHIP are joint federal-state programs that enable states to extend

 medical coverage to certain low-income individuals under Title XIX (Medicaid) and

 Title XXI (CHIP) of the Social Security Act. 42 U.S.C § 1396, et. seq.; id. § 1397aa, et.

 seq. To participate in either, each state must create a specific plan that fulfills the

 conditions specified in 42 U.S.C. § 1396a(a) or 42 U.S.C. §§ 1397aa-1397bb and

 submit the plan to HHS for approval. Id. § 1396a(b); id. § 1397ff(a)-(c); 42 C.F.R.

 § 457.150(a)-(c). Upon approval, states administer their plans, and the federal

 government provides funding to help defray costs. 12




 11
    CMA does not allege any injury to its members from this provision. See Compl. ¶¶ 185-215 (alleging
 harm only from the “OCR Rules”). Accordingly, CMA lacks standing to obtain injunctive relief
 against this provision. See Mack v. USAA Casualty Insurance Co., 994 F.3d 1353, 1356 (11th Cir. 2021)
 (“[S]tanding is not dispensed in gross.” (quoting Lewis v. Casey, 518 U.S. 343, 358 n.6 (1996)).
 12
    CMS discussed the authorities for regulating managed care programs in detail in a final rule
 promulgated in 2016. Medicaid and Children’s Health Insurance Program (CHIP) Programs; Medicaid
 Managed Care, CHIP Delivered in Managed Care, and Revisions Related to Third Party Liability, 81 Fed. Reg.
 27,498, 27,500-01 (May 6, 2016).

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       The challenged provision does not “impose[] effects-based liability on

 contractors,” as Florida claims. ECF No. 12 at 20. Rather, it establishes a condition

 of federal funding, and it is beyond dispute that HHS—through CMS—may establish

 requirements for state Medicaid and CHIP plans by regulation, including for the

 proper and efficient operation of state Medicaid plans, 42 U.SC. § 1396a(a)(4), to

 ensure that such plans operate in the “best interests of recipients[,]” id. § 1396a(a)(19),

 and to provide for the “effective and efficient” provision of child health assistance, id.

 § 1397aa(a). See 42 U.S.C. § 1302(a). That is precisely what HHS did here. See 89 Fed.

 Reg. at 37,668. Florida largely ignores HHS’s authority to regulate and approve state

 plans, and it conspicuously avoids any reference to HHS’s authority under

 § 1396a(a)(19). See ECF No. 12 at 19-20. Nor does Florida cite any authority to

 support its argument that HHS lacked authority to impose the particular requirements

 in § 438.3(d)(4) as a condition of federal funding. See, e.g., W. Virginia v. Thompson, 475

 F.3d 204, 209-14 (4th Cir. 2007) (deferring to CMS’s interpretation of the Medicaid

 statute even in the absence of notice-and-comment rulemaking). Compare Adams, 57

 F.4th at 815 (addressing notice requirements in the context of a private suit for

 damages under § 1983).

       Moreover, to the extent Florida’s argument is that HHS lacked authority to

 promulgate rules prohibiting policies or practices that have discriminatory effects, ECF

 No. 12 at 19-20, Florida’s claim comes too late. CMS regulations have proscribed such

 policies and practices with respect to race, color, and national origin since 2002, see

 Medicaid Program; Medicaid Managed Care: New Provisions, 67 Fed. Reg. 40,989,

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 41,098 (June 14, 2002), and discrimination based on sex was added in 2016, see 81

 Fed. Reg. at 27,856. In all that time, Florida has never challenged CMS’s authority to

 prohibit discriminatory effects, and the statute of limitations for questioning that

 authority has now passed. See 28 U.S.C. § 2401(a).

        In any event, Florida’s challenge to § 438.3(d)(4) is not properly before this

 Court. See Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 208 (1994). If CMS were to

 disallow federal financial participation on the basis of failure to comply with

 § 438.3(d)(4), Florida would be entitled to notice and, upon request, to receive a

 reconsideration of the disallowance and appeal to the Departmental Appeals Board,

 and could then seek judicial review if dissatisfied. 42 U.S.C. §§ 1316(e), 1397gg(e)(2);

 42 C.F.R. § 430.42. Similarly, were CMS to seek to withhold or defer federal financial

 participation on Florida’s payments to its managed care plans, there are procedural

 protections in place and a right to seek further review in the court of appeals. 42 U.S.C.

 §§ 1316(a)(3), 1396c; 42 C.F.R. §§ 430.35 through 430.40. In all events, Congress’s

 “intent to allocate initial review of Florida’s claims to CMS is ‘fairly discernable in [42

 U.S.C. § 1316],” and therefore the Court lacks subject-matter jurisdiction over the

 claim. Florida, 2024 WL 2803298, at *6.

       G. The Rule Does Not Violate the Spending Clause.

        Section § 92.101(a)(2)(iv) is not impermissibly ambiguous under Pennhurst State

 Sch. & Hosp. v. Halderman, 541 U.S. 1, 18 (1981). ECF No. 12 at 11-12. Even assuming




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 Penhurst requires a clear statement,13 there is no Spending Clause problem because the

 relevant provision in the Rule merely explains the scope of § 1557’s unambiguous

 prohibition on sex discrimination, based on the statutory language’s plain meaning.

 Bostock, 590 U.S. at 674. In Bostock, the Supreme Court explained that Title VII’s

 “message” on this score was “simple.” Id. at 644. “Given the similarity in language

 prohibiting sex discrimination in Titles VII and IX,” Doe, 28 F.4th at 114, the same

 clear statement exists in Title IX and § 1557; see also Tovar v. Essentia Health, 342 F.

 Supp. 3d 947, 953 (D. Minn. 2018). 14 “[S]o long as a spending condition has a clear

 and actionable prohibition of discrimination, it does not matter that the manner of that

 discrimination can vary widely.” Benning v. Georgia, 391 F.3d 1299, 1306 (11th Cir.

 2004). Moreover, the statutory provisions cited above clearly put states on notice that

 CMS will impose regulatory requirements for operation of programs.




 13
   The Pennhurst analysis is most frequently invoked in the context of ascertaining the scope of liability
 in a private lawsuit (typically for damages). See, e.g. Cummings v. Premier Rehab Keller, PLLC, 596 U.S.
 212, 218-219 (2022); Adams, 57 F.4th at 815. In those case, the Pennhurst analysis does not result in an
 unenforceable statutory or regulatory spending condition, but instead a conclusion that enforcement
 must be at the hands of the federal government seeking prospective compliance as a condition of
 continued funding rather than private individuals seeking damages for past conduct. In applying
 Pennhurst, the Supreme Court has explained that the consequence of a statute “not unambiguously
 confer[ring] an enforceable right upon the Act’s beneficiaries” is the unavailability of a private cause
 of action to enforce the provision either in its entirety or in certain applications. Suter v. Artist M., 503
 U.S. 347, 363 (1992). A statute imposing a “generalized duty on [the] State” is not invalid, but is “to
 be enforced by the Secretary in the manner [of reducing or eliminating payments].” Gonzaga Univ. v.
 Doe, 536 U.S. 273, 381 (2002) (quoting Suter, 503 U.S. at 363).
 14
    Plaintiffs seemingly argue that the Spending Clause would preclude reading § 1557 to bar separate
 living facilities or separate bathrooms based on sex. ECF No. 12 at 12-13. But, as explained above,
 the Rule does not determine whether any particular practice violates § 1557; thus, particular
 applications of the Rule are not at issue here.

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    II.      Plaintiffs Cannot Establish Imminent Irreparable Injury.

          Whether for a preliminary injunction, Siegel v. LePore, 234 F.3d 1163, 1176-77

 (11th Cir. 2000), or Article III standing, Corbett v. TSA, 930 F.3d 1225, 1233 (11th Cir.

 2019), “injunctive relief requires [a] future injury [that] ‘proceed[s] with a high degree

 of immediacy,’” specifically, “within some fixed period of time in the future[,]” id. at

 1233, “to reduce the possibility of deciding a case in which no injury would have

 occurred at all.” Lujan v. Defs of Wildlife, 504 U.S. 555, 564 n.2 (1992). Mere fear of

 future injury—even if “not fanciful, irrational, or clearly unreasonable”—is

 insufficient. Clapper v. Amnesty Intern. USA, 568 U.S. 398, 416 (2013) (citation omitted).

 Rather, a plaintiff alleging injury due to a legal code must “assert an injury that is the

 result of the [code’s] actual or threatened”—not merely feared—“enforcement, whether

 today or in the future.” California v. Texas, 593 U.S. 659, 670 (2021). Consistent with

 the “characterization” of injunctive relief as “extraordinary[,]” Winter, 555 U.S. at 22,

 not all Article III injuries constitute irreparable harm, even if they cannot be redressed

 in damages, FTC v. Standard Oil Co. of Cal., 449 U.S. 232, 244 (1980).

          Here, Plaintiffs’ allegations of possible future harm do not establish imminent

 injury. This Court thus lacks jurisdiction whether analyzed as a matter of standing,

 Nat’l Fam. Plan. and Reprod. Health Ass’n v. Gonzales, 468 F.3d 826, 829-31 (D.C. Cir.

 2006), ripeness, Colwell v. HHS, 558 F.3d 1112, 1123-29 (9th Cir. 2009), or statutory

 preclusion of pre-enforcement jurisdiction, Thunder Basin Coal Co. v. Reich, 510 U.S.

 200, 207-18 (1994). But for purposes of the present motion, it is most speculative that



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 Florida or CMA members will experience an irreparable injury “before a decision on

 the merits can be rendered,” Winter, 555 U.S. at 22 (citation omitted)—which is the

 purpose of a preliminary injunction.

       Plaintiffs’ failure to show irreparable injury that will occur before the Court

 decides this case is premised on the combination of three points: (1) Florida and CMA

 members’ insistence in their briefing and elsewhere that they have legitimate,

 nondiscriminatory bases for their policies, which is all that the Rule requires, (2)

 Plaintiffs’ failure to show that “good-faith” reliance on a belief that policies are

 nondiscriminatory “would trigger” irreparable consequences, like “an immediate

 funding cut-off, much less the sort of retroactive penalty that was involved in Abbott

 Labs [v. Gardner, 387 U.S. 136 (1967)],” Gonzales, 468 F.3d at 829, and relatedly (3) the

 attenuated procedures required before any loss of Federal financial assistance.

       First, neither Florida nor CMA members allege that their policies are “based on

 unlawful animus or bias, or constitute a pretext for discrimination.” E.g., 45 C.F.R.

 § 92.207(c). For example, while Florida must comply with the Rule, Florida is pre-

 judging that its policies are noncompliant while arguing elsewhere that it has a

 legitimate, nondiscriminatory reason for those polices, ECF No. 12 at 5, see also ECF

 No. 12-3 at 2 (CMA members “care for all patients with respect and without unlawful

 discrimination”), which is what § 1557 and the Rule requires, see 45 C.F.R.

 §§ 92.206(c), 92.207(c); 89 Fed. Reg. at 37,535.

       Second, if Florida or CMA members were to stand on their good-faith

 representations about the bases for their policies (or even on a good-faith belief that a

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 provision of the Rule as applied would be invalid), they do not establish that they

 would suffer a “retroactive penalty” at the hands of HHS, Gonzales, 468 F.3d at 829,

 for reliance on those representations or views after the Rule’s effective date. To the

 contrary, in § 1557, Congress sought “to obtain compliance and eliminate

 discrimination [and did] not wish to use punitive measures[.]” 110 Cong. Rec. S7059

 (daily ed. Apr. 7, 1964). 15 Compliance at any point in any putative enforcement

 process would thus preclude HHS from terminating funding. 45 C.F.R. §§ 80.7(d) (no

 funding loss proceedings if compliance can be achieved voluntarily after OCR

 investigation); 80.10(f) (permitting recipient to “correct its noncompliance” to

 preclude future funding loss after decision by hearing examiner but before decision

 takes effect), 80.10(g) (recipient “shall be restored to full eligibility” as soon as “it

 brings itself into compliance”). In other words, Florida won’t lose its funding if it first

 refuses to comply but then decides later that it will.

        Finally, the extensive procedures, culminating in judicial review, required by

 § 1557 before HHS could terminate any Federal financial assistance for

 noncompliance make any loss of “federal financial assistance from HHS,” ECF No.

 12 at 20, practically impossible “before a decision on the merits can be rendered[,]”

 Winter, 555 U.S. at 22 (citation omitted). see also Flowers Industries v. FTC, 849 F.2d

 551, 552-53 (11th Cir. 1988) (no imminent irreparable harm when agency lacked



 15
   One reason that Congress precluded any funding termination decision from taking effect until after
 a review process by congressional committees, supra at 5, was to provide a “further opportunity to end
 the discrimination without the necessity of cutting off Federal funds[.]” 110 Cong. Rec. S7060.


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 power to immediately effectuate harm). “At each point in any putative enforcement

 process, Plaintiffs would be able to raise the same claims they now raise.” ACP, 2022

 WL 17084365, at *15. Previously, the required steps have taken extensive time. 16

         Together, all this means that Plaintiffs have not shown imminent irreparable

 injury. Sch. Dist. of City of Saginaw v. HEW, 431 F. Supp. 147, 154 (E.D. Mich. 1977)

 (no irreparable harm from being required to present claims following completion of

 Title VI proceedings). Florida claims that it “will face an untenable choice”—stop

 enforcing its policies “or lose federal financial assistance[,]” ECF No. 12 at 20. Even

 if any “choice” alone “would be sufficiently great” to justify drastic injunctive relief,

 Petrol. Exploration v. PSC of Ky., 304 U.S. 209, 220 (1938), neither Florida nor any CMA

 member faces one until after they are “requested” to “correct [any charge of

 noncompliance], and thus hopefully achieve ‘voluntary compliance[,]’” see Cook, 1979

 U.S. Dist. LEXIS 14572, at *3. In Cook, for example, it took HHS’s predecessor agency

 over two years of investigation before even a preliminary finding of noncompliance.

 Id. And “[a]t the moment it also remains speculative whether such an [investigation]

 may be forthcoming” at all. See Siegel, 234 F.3d at 1177. Moreover, informal



 16
    E.g., See, e.g., Civ. Remedies Div. the Gen. Couns., DAB No. CR2580 (2012) (H.H.S. Aug. 2, 2012)
 (terminating funding in 2012 after 3 years of investigation, 2 months of ignored repeated attempts to
 secure voluntary compliance, and more than 2 additional years had passed); Freeman v. Cavazos, 939
 F.2d 1527, 1528 n.1, 1530 (11th Cir. 1991) (terminating funding in 1990 after investigating for 2 years
 and beginning funding termination procedures in 1986); Cook v. Ochsner Found. Hosp., C.A. No. 70-
 1969, 1979 U.S. Dist. LEXIS 14572, at *3 (E.D. La. Feb. 7, 1979) (3 years and 5 months between
 initiation of investigation and initiation of formal administrative adjudication proceeding); Bd. of Pub.
 Instruction of Taylor Cnty, Fla. v. Finch, 414 F.2d 1068 (5th Cir. 1969) (19 months between initiation of
 mandatory voluntary mediation efforts (after completion of investigation) and final order terminating
 funds).


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 cooperation with HHS during that process would not itself constitute irreparable

 injury. Standard Oil, 449 U.S. at 244; see also Petrol. Exploration, 304 U.S. at 220-21

 (same).

        The harm alleged by CMA members—who fear enforcement of § 1557

 requiring conduct that would violate their “core religious beliefs[.]” Compl. ¶ 23—is

 even more remote and speculative. The Rule’s protections for religious freedom are

 robust. CMA members may rely on religious freedom and conscience protections,

 including RFRA, without obtaining a religious exemption under §§ 92.3(c), 92.302(a),

 which provide that application of the Rule’s provisions “to specific contexts,

 procedures, or health care services” shall not be required where RFRA or other

 protections apply, id. § 92.302(a). Separately, the Rule establishes a process whereby

 CMA members can seek assurances from OCR that federal law protecting religious

 freedom and conscience exempts them from any of those applications. 45 C.F.R.

 § 92.302(b). 17 CMA members thus face no injury at all, let alone irreparable injury, at

 least until after “the exemption [request] is finally denied.” Navy SEAL 1 v. Biden, 574

 F. Supp. 3d 1124, 1143 (M.D. Fla. 2021).




 17
    CMA members can seek such assurances even before any administrative complaint is filed and
 “before an[y] investigation is initiated.” Id. Where members avail themselves of this option in advance
 and obtain an assurance, they will face no threat of investigation or enforcement. Id. § 92.302(d). Even
 if they did not proactively seek an assurance, if any administrative complaint is filed regarding their
 conduct or any investigation is otherwise initiated, CMA members “may, during the pendency of that
 investigation, similarly notify OCR of their belief they are entitled to an exemption under the process
 provided at § 92.302(b).” 89 Fed. Reg. at 37,658. And a member can appeal any adverse determination
 by OCR regarding an exemption within HHS and can seek judicial review in the event of a final
 adverse decision from the agency. 45 C.F.R. § 92.302(e)-(f).

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         Plaintiffs’ arguments to the contrary lack merit. Florida cannot invoke the

 “health and welfare of [its] citizens,” ECF No. 12 at 21 (citation omitted), as an interest

 in a suit against the Federal Government. Haaland v. Brackeen, 599 U.S. 255, 294-95

 (2023); Florida v. HHS, 19 F.4th 1271, 1291-93 (11th Cir. 2021). And even if it could,

 Florida never explains how denying patients medically necessary care because of traits

 or actions that it would not have questioned in members of a different sex advances

 those interests.

         Similarly, Florida cannot show imminent irreparable injury based on interests

 it may have in enforcing state statutes or rules that (1) it has represented to the Dekker

 v. Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.) court that it is not enforcing or that

 (2) the Doe v. Ladapo court has enjoined Florida from enforcing against a class. --- F.

 Supp. 3d ---, 2024 WL 2947123 (N.D. Fla. June 11, 2024). ECF No. 32 at 4-7. 18

         That Florida is a State does not entitle it to a special “‘presumption’ of

 irreparable harm.” See Blue-Grace Logistics LLC v. Fahey, 340 F.R.D. 460, 466 (M.D.




 18
    Florida’s reliance on the Government’s amicus brief in Dekker to suggest it faces imminent
 irreparable harm due to the Rule’s enforcement is misplaced. ECF No. 12 at 21. In Dekker, the district
 court’s findings that Florida’s policies violated § 1557 occurred after a trial where plaintiffs proved that
 Florida’s justifications for the policies were pretext for discrimination on the basis of sex. For HHS to
 terminate Federal financial assistance due to the same policies under the new Rule’s provisions would
 require resource-intensive trial-type administrative proceedings that would be largely duplicative of
 the Dekker proceedings. 45 C.F.R. § 92.207(c). If Florida loses Dekker on appeal, presumably Florida
 will comply with the Eleventh Circuit’s judgment and there will be no need for any administrative
 adjudication, let alone termination of funding. If the Eleventh Circuit reverses, Florida cannot explain
 why the Eleventh Circuit’s opinion would not inform HHS enforcement discretion. In any event, the
 mere fact that Florida might need to defend itself against an administrative complaint would not itself
 constitute irreparable harm. Standard Oil, 449 U.S. at 244. And whatever harm Florida currently faces
 from § 1557 enforcement in cases like Dekker is not redressable through enjoining enforcement of the
 Rule in this case.


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 Fla. 2022) (citation omitted). Florida invokes Abbott v. Perez, 585 U.S. 579 (2018). But

 in Abbott, the court held that enjoining a state from enforcing a statute imposed

 irreparable injury, 585 U.S. at 602 n.17; here, “[Florida] has not been enjoined from

 establishing, enforcing, or effectuating any of its statutes,” N.M. Dep’t of Game and Fish

 v. U.S. Dep’t of the Interior, 854 F.3d 1236, 1255 (10th Cir. 2017). The point is that the

 mere existence of a statute or rule on the books cannot itself be irreparable injury; the

 injury must derive from “actual or threatened enforcement.” California, 593 U.S. at

 670. And as explained, irreparable injury from enforcement is not imminent. Plaintiffs’

 evidence therefore does not connect the dots so as to demonstrate that its ostensible

 sovereign injury will occur before a decision on the merits. Any chilling effect on

 Florida’s interests associated with a potentially invalid rule being on the books is

 insufficient. Whole Woman’s Health v. Jackson, 595 U.S. 30, 50 (2021).

         Finally, a class-wide declaratory judgment precludes a finding of imminent

 irreparable harm. ECF No. 32 at 1-2. It already addresses any fear of enforcement

 against healthcare providers. As long as that judgment remains good law, OCR will

 not investigate class members alleged to have engaged in the kind of gender identity

 discrimination addressed in that case. Id. Thus, there is no risk of harm to the members

 of Plaintiff CMA or to the healthcare facilities that Plaintiff Florida has identified. See

 Compl. ¶ 17 and ECF 12-2 (Decl. of Kevin Bailey). 19 Courts have declined to find


 19
   Plaintiffs’ membership in the Neese class may have broader implications for their ability to pursue
 the relief they seek in this case insofar as it is “within the subject matter of the class action.” Green v.
 McKaskle, 770 F.2d 445, 447 (5th Cir. 1985); see also, e.g., Roth v. Austin, 62 F.4th 1114, 1117-18 (8th
 Cir. 2023) (“[P]roper remedy is to dismiss the duplicative claims”).


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 imminent irreparable harm in similar contexts. See Bongiovanni, 2022 WL 1642158, at

 *10; Faust v. Vilsack, No. 21-C-548, 2021 WL 2806204, at *3 (E.D. Wis. July 6, 2021);

 see also Sanchez-Espinoza v. Reagan, 770 F.2d 202, 208 n.8 (D.C. Cir. 1985).

    III.   The Equities and Public Interest Weigh Against a Preliminary Injunction.

       The balance of the equities and public interest plainly weigh against the drastic

 relief Plaintiffs request. Plaintiffs have not made any showing of substantial, imminent,

 and irreparable injury of the nature that would warrant extraordinary intervention by

 a court of equity. Against this non-existent showing of harm weighs the significant

 public interest in permitting enforcement of the Rule to combat discrimination in

 health programs and activities receiving federal funds. It is well-established that

 violations of federal civil rights statutes constitute irreparable harm. See Rogers v.

 Windmill Pointe Vill. Club Ass’n, 967 F.2d 525, 528 (11th Cir. 1992); United States v.

 Hayes Int’l Corp., 415 F.2d 1038, 1045 (5th Cir. 1969). A patient who is denied basic

 medical care just because a provider or insurer wants to intentionally penalize them

 for their sex-related traits suffers “irreparable injury.” Lange, 101 F.4th at 801. Issuing

 Plaintiffs’ injunction would authorize that behavior. Moreover, there is “inherent

 harm” in preventing HHS from enforcing statutes. Cornish v. Dudas, 540 F. Supp. 2d

 61, 65 (D.D.C. 2008). See Abbott, 585 U.S. at 602 n.17.

       Plaintiffs assert that “staying or enjoining enforcement of the 2024 Rules won’t

 interfere with HHS’s legitimate law-enforcement interests” and that “HHS will be able

 to continue enforcing Section 1557 to prevent actual intentional sex discrimination.”



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 ECF No. 12 at 23. That is not the import of their proposed order. 20 Insofar as Plaintiffs

 suggest that the Court should issue an order that precludes HHS from taking

 enforcement actions against Florida or CMA members by citing the provisions of the

 Rule but leaves HHS “free to engage in the [same]” enforcement actions “that the

 plaintiffs say injures them” by citing the statute alone, their motion should be

 dismissed on standing grounds. See Support Working Animals, Inc v. Governor of Fla, 8

 F.4th 1198, 1205 (11th Cir. 2021). An order permitting HHS to take the same

 enforcement actions it would take under the Rule by instead citing the statute could

 not plausibly redress any threat of enforcement they purport to face. See id.

      IV.    The Court Should Not Enjoin Defendants from Enforcing Any Provision
             of the Rule Against Nonparties or Unharmed, Unidentified CMA
             Members.
         Any preliminary injunction or stay should be limited in scope. The Eleventh

 Circuit has confirmed that entry of a nationwide injunction will typically be an abuse

 of discretion. See Georgia v. Pres. of the U.S., 46 F.4th 1283, 1306 (11th Cir. 2022).

         Here, Plaintiffs fail to show that nationwide relief is necessary to redress the

 alleged injuries of Florida or CMA members. An order appropriately limited to

 enjoining Defendants from enforcing specific provisions of the Rule against Florida or

 CMA members insofar as they have shown individualized imminent irreparable injury

 from enforcement of those provisions (and otherwise persuaded the court that



 20
   In the context of agency rules, a § 705 stay operates to “stay enforcement” of the stayed provisions.
 Abbott Laboratories v. Gardner, 387 U.S. 136, 156 (1967); see also Nken v. Holder, 556 U.S. 418, 428 (2009)
 (stays and injunctions have the same “practical effect”).


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 preliminary injunctive relief is appropriate) would suffice to redress that showing of

 irreparable harm. Plaintiffs offer no legitimate reason consistent with Article III to

 extend an injunction to others. See Gill v. Whitford, 585 U.S. 48, 73 (2018). Nor does

 CMA’s representation of its identified members mean that CMA may seek an

 injunction on behalf of nonparty CMA members that CMA has not shown face

 imminent irreparable harm. CMA cannot “circumvent” Rule 23’s class-action

 “mechanisms in the name of providing injunctive relief only for nonparties’ benefit”

 and for whom it has not shown irreparable harm. Georgia¸46 F.4th at 1306.21

                                            CONCLUSION

         Accordingly, the motion for a preliminary injunction should be denied. 22


 Dated: June 13, 2024                                 Respectfully submitted,


 21
   Plaintiffs “lightly assume that Congress has intended to depart from [these] established [equitable]
 principles[,]” see Weinberger v. Romero-Barcelo, 456 U.S. 305, 313 (1982), when it enacted 5
 U.S.C. § 705. ECF No. 12 at 24. But that provision does not change the inadvisability of a universal
 remedy. It was designed “to reflect existing law . . . and not to fashion new rules of intervention for
 District Courts.” Sampson, 415 U.S. at 68 n.15. Its plain language requires the Court to consider relief
 that merely “preserve[s] status or rights pending conclusion of the review proceedings.” 5 U.S.C.
 § 705. In tailoring any relief only “to the extent necessary to prevent irreparable injury[,]” id., the
 statute directs courts to apply traditional equitable principles, which include tailoring relief to be no
 more intrusive than necessary to prevent irreparable harm to the parties. Georgia, 46 F.4th at 1303-04.
 Indeed, the House Report for the APA indicates that relief under § 705 should “normally, if not
 always, be limited to the parties complainant.” H.R. Rep. No. 79-1980, at 43 (1946).
 22
   Plaintiffs have not established that venue is proper in this district. To the extent Plaintiffs' complaint
 raises RFRA claims on behalf of CMA members, this Court is not a proper venue for those claims.
 See 28 U.S.C. § 1391(e); Tucker v. U.S. Dep’t of Army, 42 F.3d 641 (5th Cir. 1994). Moreover, the RFRA
 claims and any (premature) as-applied challenges of individual CMA members asserted in the
 complaint should be severed. See Crosby v. Austin, No. 8:21-cv-2730-TPB-CPT, 2022WL 19236177, at
 *2 (M.D. Fla. Feb. 22, 2022). The Court need not address these issues in resolving the instant motion,
 however, because Plaintiffs' motion relies solely on their APA and Spending Clause claims to
 challenge provisions of the Rule in all their applications. Defendants note these issues here solely to
 ensure that they are not inadvertently forfeited. See Order, U.S. Navy SEALs 1-26 v. Biden, No. 4:21-cv-
 01236-O (N.D. Tex. May 7, 2022), ECF No. 150, at 7.

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